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              EXHIBIT A
             Case 2:22-cv-09237-MEMF-PD Document 1-1 Filed 12/20/22 Page 2 of 8 Page ID #:9
Electronically FILED by Superior Court of California, County of Los Angeles on 10/26/2.gitcrit1343§heni R. Carter, Executive Officer/Clerk of Court, by P. Perez,Deputy Clerk

                                                                                                                                                                                   SUM-100
                                                                 SUMMONS on First Amended Complaint                                                       FOR COURT USE ONLY
                                                                                                                                                      (SOLO PARA USO DE LA CORTE)
                                                        (CITACION JUDICIAL)

        NOTICE TO DEFENDANT:
        (AVISO AL DEMANDADO):
        GEORGE FOREMAN; and DOES 2 through 50,


        YOU ARE BEING SUED BY PLAINTIFF:
        (LO ESTA DEMANDANDO EL DEMANDANTE):
        DENISE S., an individual,

         NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
         below.
            You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
         served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
         case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
         Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
         court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
         be taken without further warning from the court.
            There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
         referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
         these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
         (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
         costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
         jAVISOI Lo han demandado. Si no responde dentro de 30 dias, la code puede decidir en su contra sin escuchar su version. Lea la informacian a
         continuaci0n.
            Tiene 30 WAS DE CALENDARIO despues de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
         code y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefonica no lo protegen. Su respuesta por escrito tiene que estar
         en formato legal correcto si desea que procesen su caso en la code. Es posible que hays un formulario que usted pueda usar para su respuesta.
         Puede encontrar estos formularios de la code y mas informackin en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
         biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pagar la cuota de presentaci0n, pida al secretario de la code que
         le de un formulario de exencian de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le podra
         guitar su sueldo, dinero y bienes sin mas advertencia.
            Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
         remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
         programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
         (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poni6ndose en contacto con la code o el
         colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
         cualquier recuperacian de $10,000 6 mas de valor recibida mediante un acuerdo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
         pagar el gravamen de la code antes de que la code pueda desechar el caso.
                                                                                                                 CASE NUMBER:
        The name and address of the court is:                                                                    (Ndmero del Case):
        (El nombre y direcciOn de la corte es): Torrance Courthouse
                                                                                                                                          22STCV27533
         825 Maple Ave, Torrance, CA 90503

        The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
        (El nombre, la direccion y el ntimero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
        Alex Valenzuela, Esq. Dordulian Law Group, 550 N. Brand Blvd., Suite 1990, Glendale CA 91203, (818) 788-4919
                                                                                                                    Sherri R. Caner Executive Officer t Clerk of Court
        DATE:      "      •                                                 Clerk, by                                                                                              , Deputy
                   1012612022                                                                       P. Perez
        (Fecha)                                                             (Secretario)                                                                                           (Adjunto)
        (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
        (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
          (SEAL]                                  NOTICE TO THE PERSON SERVED: You are served
                                                  1.      as an individual defendant.
                                   (65            2.           as the person sued under the fictitious name of (specify):

                                                  3.           on behalf of (specify):
                                            •
                                                        under:          CCP 416.10 (corporation)                                             CCP 416.60 (minor)
                                                                        CCP 416.20 (defunct corporation)                                     CCP 416.70 (conservatee)
                   P4'                                                CCP 416.40 (association or partnership)                                CCP 416.90 (authorized person)
                                                                      other (specify):
                                                  4.           by personal delivery on (date):
                                                                                                                                                                                       Page 1 of 1
         Form Adopted for Mandatory Use                                                                                                                      Code of Civil Procedure §§ 412.20, 465
           Judicial Council of California
                                                                                      SUMMONS
                                                                                                                                                                                www.courts.ca.gov
           SUM-100 Rev. July 1, 2009]
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                                                                         Samuel Dordulian, Esq. (SBN 174717)
                                                                 1       Alex M. Valenzuela, Esq. (SBN 233783)
                                                                         DORDULIAN LAW GROUP, APC
                                                                 2       550 N. Brand Boulevard, Suite 1990
                                                                         Glendale, California 91203
                                                                 3                      (818) 788-4919
                                                                         Telephone:
                                                                         Facsimile:     (818) 484-2011
                                                                 4
                                                                         Attorneys for Plaintiff,
                                                                 5
                                                                         DENISE S.
                                                                 6

                                                                 7
                                                                                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                 8
                                                                                                                FOR THE COUNTY OF LOS ANGELES
                                                                 9

                                                               10
                                                                      DENISE S., an individual,                                                        CASE NO.: 22STCV27533
                                                               11
                                                                                                  Plaintiff,                                           FIRST AMENDED
                                                                12                                                                                     COMPLAINT FOR DAMAGES
                                                                                  v.
                                                                13                                                                                     1. SEXUAL BATTERY;
                                                                      GEORGE FOREMAN; and DOES 2 through                                               2. INTENTIONAL INFLICTION OF
                                                                14    50,                                                                                 EMOTIONAL DISTRESS;
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                                                                15                                 Defendants.                                         JURY TRIAL DEMANDED

                                                                16

                                                                17

                                                                18

                                                                19

                                                                20                Plaintiff DENISE S. ("Plaintiff'), hereby demands a jury trial, complains, and alleges
                                                                21    against Defendants GEORGE FOREMAN ("DOE 1"), and DOES 2 through 50, inclusive as
                                                                22    follows:
                                                                23                                                                     THE PARTIES
                                                                24                1.          Plaintiff, DENISE S. is a resident of the State of California, County of Los
                                                                25    Angeles. Plaintiff is a victim of sexual assault, and is thus entitled to protect her identity in this
                                                                26    public filing by using a pseudonym.
                                                                27                2.          Plaintiff is informed and believes, and thereon alleges that Defendant DOE 1 is an
                                                                28    individual resident of Texas and County of Harris.


                                                                                                      FIRST AMENDED COMPLAINT FOR DAMAGES
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      1          3.      Pursuant to Code of Civil Procedure §340.1, the true names and capacities of

      2   DOE 1 is presently known to Plaintiff, but are sued under fictitious names until there is a

      3   showing of corroborative fact as to the charging allegations against these defendants. Plaintiff

      4   will seek leave to amend the complaint upon a showing of corroborative fact to substitute the

      5   true names of the defendants or defendant.

      6          4.      The true names and capacities of any defendants designated herein as DOES 2

      7   through 50, inclusive, whether an individual, a business, a public entity, or otherwise, are

      8   presently unknown to plaintiff, who therefore sues said defendants by such fictitious names,

      9   pursuant to Code of Civil Procedure § 474. Plaintiff is informed and believes, and on such

     10   information and belief alleges, that each DOE defendant is responsible in some manner for the

     11   events alleged herein, and Plaintiff will amend the complaint to state the true names and

     12   capacities of said defendants when their true names and capacities have been ascertained.

     13                                                AGENCY

     14          5.      At all times relevant, each of the Defendants, named and fictitiously named, was

     15   and is the agent, partner, employee, co-venturer, independent contractor and/or co-conspirator of

     16   each of the remaining Defendants and, in doing the things alleged herein acted within the scope,

     17   course, purpose, consent, direction, approval, knowledge, ratification, and/or authorization of

     18   such agency, partnership, employment, joint venture, contract, and/or conspiracy. Wherever

     19   reference is made herein to "Defendants," such allegations shall be deemed to mean the acts of

     20   the Defendants acting individually, jointly and/or severally. Further, wherever reference is made

     21   herein to "Defendants" such allegations shall be deemed to mean the acts of Defendants DOE 1

     22   and DOES 2 through 50, acting individually, jointly and/or severally.

     23                                                 VENUE

     24           6.     This action arises out of tortious conduct that occurred in the State of California,

     25   County of Los Angeles. The amount in controversy exceeds $25,000.00.

     26           7.     Plaintiff brings this action under Assembly Bill No. 218 ("AB 218"), which

     27   amended California Code of Civil Procedure sections 340.1 and 1002, as well as Section 905 of

     28   the California Government Code, relating to sexual assault.
                                                         -   2 -

                               FIRST AMENDED COMPLAINT FOR DAMAGES
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      1           8.        The damages alleged in the complaint were a result of childhood sexual assault

      2   that would constitute a crime under Penal Code Sections 288 and 647.6.

      3           9.        Effective January 1, 2020, AB 218 increases the time limit for commencing an

      4   action for recovery of damages suffered as a result of childhood sexual assault to 22 years from

      5   the date the Plaintiff attains the age of majority or within 5 years of the date the plaintiff

      6   discovers or reasonably should have discovered that the psychological injury or illness occurring

      7   after the age of majority was caused by the sexual assault, whichever is later. AB 218 also

      8   revives time-lapsed claims in certain circumstances such as those presented in this Complaint.

      9                                       GENERAL ALLEGATIONS

     10           10.       DOE 1 (born on or about 1949) is a former professional heavy weight boxer who

     11   went professional in 1969. DOE 1 defeated Joe Frazier in 1973 to become the heavy weight

     12   champion of the word. He would eventually lose the title to Muhammad Ali in 1974. DOE 1

     13   would be inducted to the World Boxing Hall of Fame and International Boxing Hall of Fame.

     14           11.       Plaintiff (born in 1961) is the daughter of "Charlie." Charlie was a boxer based

     15   out of Oakland, California. In the early 1970s, DOE 1 trained with Charlie and met Plaintiff

     16   when she was approximately 8 years old.

     17           12.       DOE 1 started grooming Plaintiff at an early age by taking her out for ice cream

     18   and allowing her to sit on his lap as DOE 1 drove his car.

     19           13.       When Plaintiff was 13 years old, DOE 1 called Plaintiff at her home in Hayward,

     20   California and asked Plaintiff if she knew how to masturbate. During the call, DOE 1 gave

     21   Plaintiff instructions on how to masturbate herself.

     22           14.       DOE 1 would have sexual intercourse with Plaintiff several times when she was

     23   15 years old.

     24           15.       On one occasion, DOE 1 sexually abused Plaintiff while staying at a hotel in San

     25   Francisco. At the hotel, DOE 1 orally copulated Plaintiff as well as having sexual intercourse

     26   with Plaintiff.

     27           16.       At all relevant times, Plaintiff was a minor of approximately 13-16 years old and

     28   had no ability or legal capacity to consent to the aforementioned sexual acts.
                                                           -   3 -

                                FIRST AMENDED COMPLAINT FOR DAMAGES
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      1          17.     At all relevant times, DOE 1 was an adult male in excess of 24 years old.

      2          18.     As an adult, Plaintiff disclosed the abuse she suffered at the hands of DOE 1 to

      3   DOE l's friend and business associate "Ron." Ron disclosed that he was aware of at least one

      4   other victim that DOE 1 sexually abused when she was a minor.

      5          19.      Plaintiff had never met this other victim prior to disclosing her own abuse to Ron.

      6          20.      On at least one occasion, Ron confronted DOE 1 with the fact that Plaintiff and

      7   another victim accused him of sexually abusing them when they were minors. DOE 1 did not

      8   deny the allegations.

      9                                          FIRST CAUSE OF ACTION

     10                                             SEXUAL BATTERY

     11                           (As Against Defendants DOE 1, and DOES 2 through 50)

     12          21.      Plaintiff re-alleges and incorporates by reference every allegation contained in

     13   this Complaint as though set forth herein in full.

     14           22.     DOE l's conduct was sexually offensive, constituting sexual battery under

     15   California Civil Code § 1708.5.

     16           23.     DOE 1 created a harmful and offensive contact with Plaintiff when he engaged in

     17   the aforementioned sexual assault and misconduct of Plaintiff, when Plaintiff had no legal

     18   capacity to consent.

     19           24.     Each time that DOE 1 engaged in the sexual assault and abuse, a sexually

     20   offensive contact resulted.

     21           25.     As a direct and legal result of the sexual battery by DOE 1, Plaintiff suffered

     22   injuries including, but not limited to, physical and mental pain and suffering, physical injuries,

     23   past and future costs of medical care and treatment, and past and future loss of earnings and

     24   earning capacity, in an amount not yet ascertained, but which exceeds the minimum

     25   jurisdictional limits of this Court.

     26   ///

     27   ///

     28   ///
                                                         -     4 --

                                 FIRST AMENDED COMPLAINT FOR DAMAGES
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     1                                          SECOND CAUSE OF ACTION

     2                          INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

     3                             (As Against Defendants DOE 1, and DOES 2 through 50)

      4          26.        Plaintiff re-alleges and incorporates by reference every allegation contained in

      5   this Complaint as though set forth herein in full.

      6          27.        DOE l's sexual assault and misconduct against Plaintiff when he was over 23

      7   years old and she was 14-16 years old amounts to outrageous conduct.

      8          28.        DOE l's conduct was intended to cause Plaintiff severe emotional distress, as it

      9   was uninvited sexual misconduct that she had no legal capacity to consent to.

     10          29.        DOE 1 acted with acted with reckless disregard of the probability that Plaintiff

     11   would suffer emotional distress when the conduct occurred

     12          30.        As a direct and legal result of the misconduct by DOE 1, Plaintiff suffered injuries

     13   including, but not limited to, physical and mental pain and suffering, physical injuries, past and

     14   future costs of medical care and treatment, and past and future loss of earnings and earning

     15   capacity, in an amount not yet ascertained, but which exceeds the minimum jurisdictional limits

     16   of this Court.

     17                                          PRAYER FOR RELIEF

     18           WHEREFORE, Plaintiff, DENISE S. prays for judgment against Defendants DOE 1, and

     19   DOES 2 through 50, as follows:

     20              1.     For general damages according to proof;

     21              2.     For special damages according to proof;

     22              3.     For punitive damages as to defendants who committed intentional torts;

     23              4.     For all statutorily allowed damages; and

     24                5.   For such other relief as the Court may deem just and proper.

     25

     26                                    DEMAND FOR TRIAL BY JURY

     27           WHEREFORE, Plaintiff DENISE S. hereby demands trial of all causes by jury.

     28   ///
                                                           -   5 -

                                 FIRST AMENDED COMPLAINT FOR DAMAGES
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      1   DATED: September 26, 2022                   DORDULIAN LAW GROUP, APC

      2
                                                By:
      3                                               SAMUEL DORDULIAN, ESQ.
                                                      ALEX M. VALENZUELA, ESQ.
      4                                               Attorneys for Plaintiff,
                                                      DENISE S.
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                         FIRST AMENDED COMPLAINT FOR DAMAGES
